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IN THE UNITED STATES DISTRICT COURT 5/4,¢4},

FOR THE WESTERN DISTRICT OF TENNESSEE 35 " §§

EASTERN DIVISION `
MAGGIE D. GAMBRELL, )
)
Plaintiff, )
)

v. ) NO. 04-1055 T/An

)
HOLIDAY INN EXPRESS OF )
JACKSON, TENNESSEE, )
)
Defendant. )

 

ORDER DENYING MOTION FOR EXTENSION

 

Before the Court is Plaintiff’ s Motion for Extension of 'l`ime filed on April 26, 2005. The
instant motion is an uncaptioned Motion for Extension of Time, as Plaintiff does not specify
which deadline it is that she is requesting should be extended The deadline for completing
discovery is not until June 17, 2005, so the Court concludes that no extension is required for the
deadline to complete discovery.

On the other hand, if Plaintiff is referring to the deadline for initial disclosures or to some
other deadline, Plaintiff failed to attach a Certificate of Consultation as required by Local Rule
7.2 of the Local Rules for the Western District of Tennessee. Local Rule 7.2(a)(l)(B) provides:

Consultation by Counsel. All motions, including discovery motions, but not

including motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be

accompanied by a certificate of counsel (with one copy) affirming that, after

consultation between the parties to the controversy, they are unable to reach an

accord as to all issues or that all other parties are in agreement With the action

requested by the motion. Failure to file an accompanying certificate of
consultation may be deemed good grounds for denying the motion.

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The certificate must contain the names of participating counsel and the date and
manner of consultation The burden will be on counsel filing the motion to
initiate the conference upon giving reasonable notice of the time, place and
specific nature of the conference If an opposing counsel or party refuses to
cooperate in the conduct of a conference, counsel must file certificate to that
effect, setting out counsel’s efforts to comply With this rule.

Because it is unclear as to which deadline Plaintif`f seeks an extension of and because Plaintif`f
did not comply with Local Rule 7.2, the Motion is DENIED without prejudice Plaintiff is
welcome to re-file the instant motion after clarifying which deadline Plaintiff is seeking an

extension of and after complying With the Local Rules.

IT IS SO ORDERED.
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§ /ém~.-. C/@/L.d. 2

S. THOMAS ANDERSON
UNlTED STATES MAGISTRATE JUDGE‘

Date: why Z‘/'/£, ?QQ{

         

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This notice confirms a copy of the document docketed as number l3 in
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Honorable J ames Todd
US DISTRICT COURT

